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                                                                          4                           IN THE UNITED STATES DISTRICT COURT
                                                                          5
                                                                                                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                          8   B & R SUPERMARKET, INC.; GROVE                             No. C 16-01150 WHA
                                                                          9   LIQUORS, LLC,

                                                                         10                  Plaintiffs,
                                                                                                                                         ORDER RE MOTION TO
                                                                         11     v.                                                       INTERVENE
United States District Court




                                                                              VISA, INC.; VISA USA, INC.;
                               For the Northern District of California




                                                                         12   MASTERCARD INTERNATIONAL,
                                                                         13   INC.; AMERICAN EXPRESS COMPANY;
                                                                              DISCOVER FINANCIAL SERVICES; BANK
                                                                         14   OF AMERICA, N.A.; BARCLAYS BANK
                                                                              DELAWARE; CAPITAL ONE FINANCIAL
                                                                         15   CORPORATION; CHASE BANK USA, N.A.;
                                                                              CITIBANK (SOUTH DAKOTA), N.A.;
                                                                         16   CITIBANK, N.A.; PNC BANK, N.A.; USAA
                                                                              SAVINGS BANK; U.S. BANCORP, N.A.;
                                                                         17   WELLS FARGO BANK, N.A.; EMVCo, LLC;
                                                                              JCB CO., LTD; and UNIONPAY, a Chinese
                                                                         18   bank association,

                                                                         19                  Defendants.
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                                                                         21          As stated in plaintiffs’ letter (Dkt. No. 253), the motion to intervene shall be filed by

                                                                         22   NOON ON MAY 10, 2016. Defendants may respond by May 15, 2016. Plaintiffs may address

                                                                         23   defendants’ responses in their opposition to the pending motions to dismiss.

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                                                                         25          IT IS SO ORDERED.

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                                                                         27   Dated: May 9, 2016.

                                                                         28                                                             WILLIAM ALSUP
                                                                                                                                        UNITED STATES DISTRICT JUDGE
